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                IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF ARKANSAS
                         NORTHERN DIVISION

ZACHARY WILLIS                                                             PLAINTIFF
ADC# 143271

v.                        CASE NO. 3:22-CV-00281-BSM

HEITMAN et al.                                                           DEFENDANT

                                    JUDGMENT

     Consistent with the order entered today, this case is dismissed without prejudice.

     IT IS SO ORDERED this 20th day of March, 2023.



                                                ________________________________
                                                 UNITED STATES DISTRICT JUDGE
